              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 1 of 11



                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                   MIDLAND DIVISION

SPRABERRY CGC, INC.                           §
    Plaintiff                                 §
                                              §
V.                                            §        CASE NO. 7:19-CV-00188
                                              §
JAY PARKER, INDIVIDUALLY                      §
AND D/B/A J & C CATTLE CO.                    §
     Defendant                                §        JURY TRIAL DEMANDED

                             PLAINTIFF’S ORIGINAL COMPLAINT

        COMES NOW Spraberry GCG, Inc. (“Spraberry” herein), Plaintiff, and files this, its

Plaintiff’s Original Complaint complaining of Jay Parker, Individually and d/b/a J & C Cattle Co.

(“Parker” or “Defendant” herein), Defendant, and for cause of action would show the Court as

follows:

                                                  I.

                                            PARTIES

        1.       Plaintiff Spraberry CGC, Inc. is a Texas corporation with its principal place of

business located at 2504 S. County Road 1110, Midland, Midland County, Texas. Robert L. Cobb,

Gary Cobb, Billy Frank Good and Shay Good are the only shareholders of Spraberry CGC, Inc.

Robert L. Cobb, Billy Frank Good and Shay Good are residents and domiciliaries of Midland,

Midland County, Texas. Gary Cobb is a resident and domiciliary of Lubbock, Lubbock County,

Texas. Spraberry CGC, Inc. has not been incorporated in any state other than Texas.

        2.       Defendant Jay Parker, Individually and d/b/a J & C Cattle Co. is a resident and

domiciliary of the State of Arkansas and may be served with process at 2187 Sunrise Lane,

Waldron, Arkansas, or wherever he may be located.




Plaintiff’s Original Complaint                    1
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 2 of 11



                                                  II.

                                  JURISDICTION AND VENUE

         3.      The Court has diversity jurisdiction under 28 U.S.C. 1332 (a)(2). As set forth

above, complete diversity exists between Plaintiff (a Texas corporation whose shares are owned

solely by Texas residents and domiciliaries) and Defendant (a resident and domiciliary of

Arkansas). The amount in dispute exceeds the jurisdictional amount required for reasons set forth

below.

         4.      Venue is proper in this Court pursuant to 28 U.S.C. 1391 (b)(2) as a substantial part

of the events or omissions giving rise to the claim occurred in this District.

                                                 III.

                                               FACTS

         5.      Plaintiff contracted with Defendant to care for Plaintiff’s cattle which were, at the

time of the contract, located in Midland County, Texas.

         6.      The contract, which was negotiated in Midland County, Texas, provided in

pertinent part, that Defendant would properly care for the cattle and use reasonable animal

husbandry practices.

         7.      Defendant would pay the cost of feed, water, mineral, labor, lick supplements,

medicine, de-worming, and vaccinations (except vaccinations for weaned calves).

         8.      Plaintiff agreed to accept a 2% death loss of cattle which were sent to Defendant

for care. These cows weighing 1200-1400 pounds were shipped from Plaintiff’s facilities in

Midland County, Texas to the Defendant in Arkansas.

         9.      Defendant agreed to accept all death losses exceeding 2% and that the fair market

value of said deceased animals above 2% would be deducted from cattle care payments due the

Defendant from Plaintiff.

Plaintiff’s Original Complaint                     2
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 3 of 11



        10.      Defendant agreed to provide insurance on all livestock in his care. In exchange,

Plaintiff would pay the Defendant the sum of $425.00 per cow per year from Midland County,

Texas. The agreement was to end on or about November 30, 2018, when the cattle were to be

returned to Midland County, Texas.

        11.      Plaintiff also purchased an additional 96 cows from and/or through Defendant,

which were included in the contract.

        12.      Not only did Defendant not properly care for the cattle in his custody but by

November 2018, only 311 of 433 cows and 144 of 398 calves could be located.

        13.      Upon information and belief, cattle were sold by Defendant without the knowledge

or permission of Plaintiff. All of these cattle were removed from the Defendant's premises from

November 7, 2018 through November 13, 2018.

        14.      The remaining cattle were taken to other facilities for adequate care. Cows and

calves continued to die following removal from Defendant’s premises due to malnourishment.

        15.      Around November 2, 2018, Defendant was confronted regarding the whereabouts

of the cattle in question and Defendant admitted to selling and not properly caring for the cattle,

resulting in death losses.

        16.      On November 2, 2018, Defendant agreed in writing to reimburse Plaintiff for the

loss in the amount of $1,000.00 for each cow and $500.00 for each calf if paid by November 30,

2018. No such payment was ever received.

        17.      The records of Plaintiff and Defendant show that the Plaintiff delivered 433 bred

cows resulting in 398 weaned calves which is a 92% weaned calf crop.

        18.      With reasonable care, at least 90% of the cows would “breed back” resulting in at

least 390 weaned calves the following year. However the number of cows bred while under



Plaintiff’s Original Complaint                   3
               Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 4 of 11



Defendant’s care was drastically reduced resulting in only 56 bred cows that were sold still in poor

condition in February and March of 2019.

        19.      The herd went from a BCS (body condition score) of 6 to a BCS of 1-2 resulting in

poor reproductive performance and eventually death.

        20.      The fair market value of the animals are as follows:

        21.      424 Cows (98% OF 433 Head) X $1000 per Cow = $424,000.00

        22.      398 Calves (2018 Weaned Calves) X $677.11 per Calf = $269,489.78

        23.      390 Calves (2019 Calf Crop) X $800.00 per Calf = $312,000.00

        24.      Fair Market Value = $1,005,489.78

        25.      Recovery by Plaintiff Dispersal of Cows, Calves and Weanlings = $223,322.43

        26.      Amount Owed to Plaintiff = $782,167.35

        27.      Expenses Paid to Defendant = $167,240.70

        28.      Plaintiff’s Total Damages = $949,408.05

                                                   IV.

                                         CAUSES OF ACTION

                                 COUNT ONE: COMMON LAW-FRAUD

        29.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        30.      Defendant made multiple false representations to Spraberry regarding the cattle

sales and transactions. These representations included that:

              a. Defendant would adequately care for Plaintiff’s cattle;

              b. Defendant would provide feed, water, mineral, labor, lick supplements, medicine,
                 de-worming, and vaccinations for the cattle; and,

              c. Defendant would reimburse Plaintiff for all cattle loss over the agreed 2% death
                 loss.

Plaintiff’s Original Complaint                    4
               Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 5 of 11



        31.      Each of the foregoing representations were material. Defendant knew the

representations were false when they were made. Defendant made the representations with the

intent that Spraberry rely and act on them. Spraberry justifiably relied on the representations by

placing cattle with Defendant for care and, as a result; suffered injury for which it seeks judgment.

                                    COUNT TWO: CIVIL THEFT

        32.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        33.      Defendant violated the TEXAS CIVIL THEFT LIABILITY ACT and Sections 31.03 and

31.06 of the TEXAS PENAL CODE. The actions of Defendant constitute civil theft because

Defendant, knowingly and without effective consent, appropriated cattle or, alternatively, money

belonging to Spraberry, for the purpose of using that property for his own benefit.

        34.      Spraberry has been injured as a proximate result of Defendant’s actions in an

amount to be more fully demonstrated at trial. In addition, because the harm caused by Defendant

results from fraud, malice, and/or gross .negligence. Spraberry is entitled to recovery of exemplary

damages.

        35.      In addition, Spraberry is entitled to recover court costs and reasonable and

necessary attorneys’ fees. See TEX. CIV. PRAC. & REM. CODE § 134.005(b).

                     COUNT THREE: NEGLIGENT MISREPRESENTATION

        36.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        37.      Defendant made multiple false representations to Spraberry regarding the cattle

sales and transactions. These representations included that:

              a. Defendant would adequately care for Plaintiff’s cattle;

              b. Defendant would provide feed, water, mineral, labor, lick supplements, medicine,
                 de-worming, and vaccinations for the cattle; and,
Plaintiff’s Original Complaint                    5
               Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 6 of 11




              c. Defendant would reimburse Plaintiff for all cattle loss over the agreed 2% death
                 loss.

        38.      Each of the foregoing representations were made in the course of Defendant’s

business or in a transaction in which he had a pecuniary interest.

        39.      Defendant did not exercise reasonable care or competence in communicating those

representations.

        40.      Spraberry justifiably relied on the representations by placing cattle with Defendant,

and, as a result, suffered injury for which it seeks judgment.

                            COUNT FOUR: FRAUDULENT INDUCEMENT

        41.      Spraberry hereby repeats and incorporates by reference each and every allegation

.contained in all paragraphs set forth above.

        42.      Defendant made multiple false representations to Spraberry regarding the

$5,020,230.11 transaction with .George Cattle Company.

        43.      These representations included that:

              a. Defendant would adequately care for Plaintiff’s cattle;

              b. Defendant would provide feed, water, mineral, labor, lick supplements, medicine,
                 de-worming, and vaccinations for the cattle; and,

              c. Defendant would reimburse Plaintiff for all cattle loss over the agreed 2% death
                 loss.

        44.      Each of the foregoing representations were material.

        45.      Defendant knew the representations were false when they were made.

        46.      Defendant made the representations with the intent that Spraberry rely and act on

them.

        47.      Spraberry justifiably relied on the representations in entering into the agreement to

provide delivery of cattle, and, as a result, suffered injury for which it seeks judgment.

Plaintiff’s Original Complaint                     6
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 7 of 11



                                    COUNT FIVE: CONVERSION

        48.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        49.      As detailed above, Defendant wrongfully possessed Spraberry’s property.

        50.      Spraberry entrusted Defendant to faithfully provide for the delivery of cattle and

remit payment.

        51.      Spraberry has incurred substantial damages as a direct and proximate result

Defendant’s wrongful conduct and dominion of Spraberry’s property.

                           COUNT SIX: MONEY HAD AND RECEIVED

        52.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        53.      Defendant holds money that, in equity and good conscience, belongs to Spraberry.

        54.      Spraberry is entitled to recover this money from Defendant, in an amount to be

more fully demonstrated at trial.

                                 COUNT SEVEN: BREACH OF CONTRACT

        55.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        56.      Spraberry and Defendant are parties to an agreement. Pursuant to the agreement,

Defendant agreed that Defendant would adequately care for Plaintiff’s cattle; that Defendant

would provide feed, water, mineral, labor, lick supplements, medicine, de-worming, and

vaccinations for the cattle; and that Defendant would reimburse Plaintiff for all cattle loss over the

agreed 2% death loss.




Plaintiff’s Original Complaint                    7
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 8 of 11



        57.      As set forth above, Defendant breached the agreement by selling cattle that

belonged to Plaintiff, by failing to provide adequate care for the cattle placed in Defendant’s care,

custody and control.

        58.      Spraberry has been injured as a proximate result of Defendant’s actions in an

amount set forth above.

        59.      In addition, Plaintiffs are entitled to recovery of attorneys’ fees. See TEX. CIV.

PRAC. & REM. CODE § 38.001 (Vernon 2008).

        60.      Alternatively, Plaintiff would show that Plaintiff and Defendant were parties to an

agreement dated November 2, 2018, whereby Defendant agreed in writing to reimburse Plaintiff

for the loss in the amount of $1,000.00 for each cow and $500.00 for each calf lost. Defendant

has failed and refused and continues to fail and refuse to pay this sum owed.

                                 COUNT EIGHT: QUANTUM MERUTT

        61.      Spraberry hereby repeats and incorporates by reference each and every allegation

contained in all paragraphs set forth above.

        62.      In the alternative and without waiving the foregoing, Spraberry, acting in the

ordinary course of business, furnished Defendant with cattle, as detailed above.

        63.      Defendant received and accepted the cattle and the corresponding money, unjustly

enriching Defendant at the expense of Spraberry.

        64.      Defendant knew, or should have known, that the cattle were provided in

anticipation of compensation, and were not furnished gratuitously.

        65.      After all offsets, payments and credits, the reasonable unpaid value of the cattle is

at least $782,167.35.

        66.      Despite demand, Defendant wrongfully refused to pay the reasonable value of the

cattle for which sum Spraberry sues.

Plaintiff’s Original Complaint                     8
               Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 9 of 11



        67.      Spraberry has been damaged in an amount in excess of the jurisdictional limits of

the Court and is entitled to recover.

                                  COUNT NINE: NEGLIGENCE

        68.      Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

        69.      By agreeing to accept cattle for grazing, Defendant owed a legal duty to Plaintiff to

care for Plaintiff’s cattle as a reasonably prudent custom cattle feeder.

        70.      As set forth above, Defendant breached this duty by selling cattle that belonged to

Plaintiff, and by failing to provide adequate care for the cattle placed in Defendant’s care, custody

and control.

        71.      This breach proximately caused damage to Plaintiff as set forth above, for which

Plaintiff now seeks recover.

                                 COUNT TEN: ATTORNEYS’ FEES

        72.      Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

        73.      Spraberry previously presented Defendant with a written demand for its claims.

Despite that demand, Defendant has failed and refused, and continues to fail and refuse, to pay the

balance due.

        74.      As a result, Spraberry was required to retain the law firm of Craig, Terrill, Hale &

Grantham, LLP to enforce Spraberry’s rights and has agreed to pay the firm a reasonable fee for

its services. Spraberry has incurred, and will continue to incur, reasonable attorneys’ fees, which

it seeks to recover as damages from Defendant pursuant to Section 38.001 of the TEXAS CIVIL

PRACTICE AND REMEDIES CODE and Texas law.



Plaintiff’s Original Complaint                     9
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 10 of 11



                                                  V.

                                   CONDITIONS PRECEDENT

        75.      All conditions precedent have occurred, or have been excused.

                                                  VI.

                                             JURY DEMAND

        76.      Spraberry hereby respectfully demands a trial by jury in this cause and previously

paid the required fee.

                                                 VII.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED; Spraberry CGC, Inc. requests that

Defendant, Jay Parker, Individually and d/b/a J & C Cattle Co., be cited to appear and answer this

Complaint and that upon final hearing that Spraberry CGC, Inc. have judgment against Defendant

Jay Parker, Individually and d/b/a J&C Cattle Co. as follows:

                 a. all actual damages;

                 b. all special damages as permitted by law;

                 c. exemplary damages as permitted bylaw;

                 d. disgorgement of all profits obtained by Defendant as permitted by law;

                 e. pre-judgment interest at the highest rate permitted by Texas law;

                 f. post-judgment interest at the highest rate permitted by Texas law;

                 g. reasonable and necessary attorneys’ fees for pre-trial, trial, any and all appeals,
                    and petitions for review;

                 h. all costs of suit; and

                 i. all other relief to which Spraberry may be entitled in law or equity.




Plaintiff’s Original Complaint                     10
              Case 7:19-cv-00188 Document 1 Filed 08/07/19 Page 11 of 11



                                        Respectfully submitted,

                                        CRAIG, TERRILL,
                                           HALE & GRANTHAM, LLP
                                        1500 Broadway, Suite 400
                                        P.O. Box 1979
                                        Lubbock, TX 79408
                                        Telephone: (806) 744-3232
                                        Facsimile: (806) 744-2211

                                        By: /s/H. Grady Terrill
                                               H. Grady Terrill
                                               SBN: 19792300
                                               gradyt@cthglawfirm.com
                                               TyScott Hamm
                                               SBN: 24053946
                                               thamm@cthglawfirm.com
                                               Attorneys for Plaintiff




Plaintiff’s Original Complaint            11
